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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-886V
                                    Filed: December 18, 2015

* * * * * * * * * * * * * * * *                         UNPUBLISHED
VALERIE COZBEY,                               *
                                              *         Special Master Hamilton-Fieldman
              Petitioner,                     *
                                              *         Joint Stipulation on Damages;
v.                                            *         Influenza (“Flu”) Vaccine;
                                              *         Guillain-Barré syndrome (“GBS”).
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
              Respondent.                     *
* * * * * * * * * * * * * * * *
Donald Philip Edwards, Atlanta, GA, for Petitioner.
Michael Milmoe, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

        On November 8, 2013, Valerie Cozbey (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered to her on November 8,
2010 3 caused her to suffer from Guillain-Barré syndrome (“GBS”).

       On December 17, 2015, the parties filed a stipulation in which they state that a decision
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 The parties ultimately stipulated that the flu vaccine was, in fact, administered on November
10, 2010.

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should be entered awarding compensation. Respondent denies that the influenza vaccine caused
Petitioner’s alleged GBS, or any other injury, and further denies that Petitioner’s current
disabilities are sequelae of a vaccine-related injury. However, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $110,000.00 in the form of a check payable to Petitioner,
       representing compensation for all damages that would be available under 42 U.S.C.
       § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 4

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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